Case 3:17-cv-00072-NKM-JCH Document 354-18 Filed 10/02/18 Page 1 of 9 Pageid#:
                                   3298




                  EXHIBIT 17
Case 3:17-cv-00072-NKM-JCH Document 354-18 Filed 10/02/18 Page 2 of 9 Pageid#:
                                   3299
Case 3:17-cv-00072-NKM-JCH Document 354-18 Filed 10/02/18 Page 3 of 9 Pageid#:
                                   3300
Case 3:17-cv-00072-NKM-JCH Document 354-18 Filed 10/02/18 Page 4 of 9 Pageid#:
                                   3301
Case 3:17-cv-00072-NKM-JCH Document 354-18 Filed 10/02/18 Page 5 of 9 Pageid#:
                                   3302
Case 3:17-cv-00072-NKM-JCH Document 354-18 Filed 10/02/18 Page 6 of 9 Pageid#:
                                   3303
Case 3:17-cv-00072-NKM-JCH Document 354-18 Filed 10/02/18 Page 7 of 9 Pageid#:
                                   3304
Case 3:17-cv-00072-NKM-JCH Document 354-18 Filed 10/02/18 Page 8 of 9 Pageid#:
                                   3305
Case 3:17-cv-00072-NKM-JCH Document 354-18 Filed 10/02/18 Page 9 of 9 Pageid#:
                                   3306
